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Exhibit A
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September 4, 2019

Felicity Huffman
Los Angeles, Ca 90028

Hon. Indira Talwani

United States District Court
One Courthouse Way _
Boston, MA 02210

Dear Judge Talwani:

Thank you for the opportunity of writing this letter to you. Although I know I will
have the chance to address you at my sentencing, I would like to offer you a broader
perspective and insight into who I am asa person and a parent.

But first let me say, J am concerned that in giving you context it will seem like I
am offering you a justification. Please, let me be very clear; I know there is no
justification for what I have done. Yes, there is a bigger picture, but ultimately it doesn’t
matter because J could have said “No” to cheating on the SAT scores. I unequivocally
take complete responsibility for my actions and will respectfully accept whatever
punishment the court deems appropriate.

I keep asking myself, why did I do this? Why did] say yes to a scheme of —
breaking the law and compromising my integrity? What interior forces drove me to do it?
Hew could I abandon my own moral compass and common sense? Those questions
require a somewhat longer answer which involve both factual and personal responses. 1
will attempt to give you an insight into both.

The factual story is that I didn’t go shopping for a college counselor to find out
how to rig a SAT score. I didn’t even know such a scheme existed, I hired a counselor for

guidance and expertise on how to apply to colleges as successfully as possible for my
daughter, Sophia.

I have: been seeking advice, asking doctors, and trusting experts to help me with
Sophia since she was 4 years old when it became clear to me that she struggled with
everyday activities. At this age, she couldn’t even walk across a lawn in bare feet without |
flipping out, Tags in her shirt. would cause a 20-minute meltdown. She didn’t know how
to physically play with other kids, and most often she couldn’t sleep. Her nursery school
recommended Occupational Therapy. As Sophia began to work with the therapists, I
came to understand that she had Sensory Modulation Issues. At the time, I had no idea
what that was, but basically, she would under or over respond to the outside world and
couldn’t regulate herself. When she was eight years old, her school recommended she get
tested by a neuropsychologist. She was diagnosed with learning disabilities, and she has

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been retested every three years as was recommended. I am grateful to this day for all the
advice, help and expertise that we were fortunate to get, but these things did become a big
‘part of my parenting and, regrettably, I came to rely on them too much. They came to
outweigh my maternal instincts and eventually, in point of fact, my moral compass.

In High School my daughter went to a public school for the performing arts. At
this school, which remains very underfunded, there is one college counselor for 300
students. Many mothers, whose children had graduated, warned me not to leave the
college process in the hands of the administration as they were overworked and
understaffed. They advised me that a private college counselor was a vital necessity and
we were fortunate to be able to afford one. Mr. Singer was recommended as one of the
best experts in LA, and I was told I would be lucky ifI could get him to sign on to help
me with Sophia. I came to think this was particularly important given Sophia’s learning
challenges.

I worked with Mr. Singer legitimately for a year. I also engaged him for my
second daughter, Georgia, who also has serious learning disabilities, so she could benefit
from his expertise. I was relieved that he seemed so good at his job, was so confident and
knowledgeable. Sophia was passionate about majoring in theater, but over time,.Mr.
Singer told me that her test scores were too low and, if her math SAT scores didn’t rise
dramatically, none of the colleges she was interested in would even consider
her auditions.

Lhonestly didn’t and don’t care about my daughter going to a prestigious college. I
just wanted to give her a shot at being considered for a program where her acting talent
’ would be the deciding factor. This sounds hollow now, but, in my mind, I knew that her
success or failure in theater or film wouldn’t depend on her math skills. I didn’t want my
daughter to be prevented from getting a shot at auditioning and doing what she loves
because she can’t do math.

After nearly a year of working with Mr. Singer and his tutors, he told me it wasn’t
enough. Sophia’s math scores were not measuring up. We still had a serious problem and,
according to him, he had the solution. He told me, “We will make sure she gets the scores
she needs,” by having a proctor bump up her scores after she takes the test. Sophia would
never know and then she could, “Concentrate on what really matters; her grades and her
auditions.” He said he did it for many of his students. .

I was shocked that such a thing existed and after he made the initial suggestion, it
remained on the table. I couldn’t make up my mind for six weeks. I kept going back and
forth while avoiding a final decision. I felt an urgency which built to a sense of panic that
there was this huge obstacle in the way that needed to be fixed for my daughter's sake. As
warped as this sounds now, I honestly began to feel that maybe ] would be a bad mother
if 1 didn’t do what Mr. Singer was suggesting.
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To my utter shame, I finally agreed to cheating on Sophia’s SAT scores, and also
considered doing the same thing for Georgia. But the decision haunted me terribly; I
knew it was not right. I finally came to my senses and told Mr, Singer to stop the process
for Georgia.

Here is the personal side of my story. I find Motherhood bewildering. From the
moment, my children were born I worried that they got me as a Mother. I so desperately
wanted to do it right and was so deathly afraid of doing it wrong. My own fears and lack
of confidence, combined with a daughter who has learning disabilities often made me
insecure and feel highly anxious from the beginning. I was always searching for the right
book or the right piece of advice that would help me help my daughters or keep me from
making the mistakes that might damage their lives.

In my desperation to be a good mother I talked myself into believing that all I was
doing was giving my daughter a fair shot. J see the irony in that statement now because
what I have done is the opposite of fair. I have broken the law, deceived the educational
community, betrayed my daughter, and failed my family. When my daughter looked at
me and asked with tears streaming down her face, “Why didn’t you believe in me? Why
didn’t you think I could do it on my own?” I had no adequate answer for-her. I could only’
say, “I am sorry. I was frightened and I was stupid.” In my blind panic, I have done the
exact thing that I was desperate to avoid. I have compromised my daughter’s future, the
wholeness of my family and my own integrity.

I don’t write this letter to you in any way to justify my wrongdoing, my guilt or to
avoid conscious acceptance of the consequences. | ar writing you to shed light on how I
- finally got to the day when I said “Yes” to this scheme.

I have a deep and abiding shame over what I have done. Shame and regret that I
wili carry for the rest of my life. It is right that I should carry this burden and use it as
fuel for change in my own life and hopefully it will be a cautionary tale for my daughters
and the community.

As painful as this has been, I am truly grateful for the lessons I have learned and
for the opportunity to change and live more honestly. I am now focusing on repairing my
relationship with my daughter, my family and making amends to my community.

Thank you for reading my letter. I appreciate the opportunity to explain, but not
excuse what happened.

Sincerely,

 

Felicity Huffman
